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 8

 9                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:19-CR-0090MCE
                      Plaintiff,       )
12                                     ) STIPULATION
                                       ) CONTINUING STATUS
13
                                       ) CONFERENCE AND EXCLUDABLE TIME;
14         v.                          ) PERIODS UNDER SPEEDY TRIAL ACT;
                                       ) ORDER
15
     ROBERT PIERRE DUNCAN, and         )
16   EVA SYMONE CHRISTIAN              ) Date: 11/14/19
                                       ) Time: 10:00 a.m.
17
                                       ) Court: Hon. Morrison C. England
18                    Defendants.      )
     __________________________________)
19                                 STIPULATION
20
       1. By previous order, this matter was set for status on November 7, 2019.
21
       2. By this stipulation, defendants now move to continue the status conference until
22

23        November 14, 2019, and to exclude time between November 7, 2019 and
24
          November 14, 2019, under Local Code T4.
25
       3. The parties agree and stipulate, and request that the Court find the following:
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27            a. The government has provided initial discovery associated with this case that
28               includes hours of audio recordings. The indictment for Mr. Duncan was


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 1            filed on May 30, 2019. Ms. Christian was arraigned on June 14, 2019.
 2
           b. Counsel for defendants desire additional time to review and copy discovery,
 3
              consult with their clients, negotiate possible resolution, finish investigation
 4

 5            and discuss developments with their clients. Counsel for Ms. Christian is in
 6
              trial and is unavailable to appear on November 7, 2019.
 7
           c. Counsel for defendants believe that failure to grant the above-requested
 8

 9            continuance would deny counsel the reasonable time necessary for effective

10            preparation, taking into account the exercise of due diligence.
11
           d. The government does not object to the continuance.
12

13
           e. Based upon the above-stated facts, the ends of justice served by continuing

14            the case as requested outweigh the interest of the public and the defendant
15
              in a trial within the original date prescribed by the Speedy Trial Act.
16
           f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
17

18            3161, et seq., within which trial must commence, the time period of
19            November 7, 2019, to November 14, 2019, inclusive, is deemed excludable
20
              pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it
21

22
              results from a continuance granted by the Court at defendants’ request on

23            the basis of the Court’s finding that the ends of justice served by taking such
24
              action outweigh the best interest of the public and the defendant in a speedy
25
              trial.
26

27   ///
28
     ///


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 1      4. Nothing in this stipulation and order shall preclude a finding that other provision
 2
           of the Speedy Trial Act dictate that additional time periods are excludable from the
 3
           period within which a trial must commence.
 4

 5

 6

 7   IT IS SO STIPULATED.
 8
     Dated: November 5, 2019                          Respectfully submitted,
 9
                                                      /s/ Andre Espinosa
10                                                    ANDRE ESPINOSA
11
                                                      Assistant U.S. Attorney

12   Dated: November 5, 2019                                 /s/ Kelly Babineau
13
                                                      KELLY BABINEAU
                                                      Attorney for Eva Christian
14

15
     Dated: November 5, 2019                                 /s/ Shari Rusk
16                                                    SHARI RUSK
                                                      Attorney for ROBERT DUNCAN
17

18

19                                           ORDER
20         The above stipulation of counsel is GRANTED. On the Court’s own motion, the
21   November 7, 2019, Status Conference is VACATED and CONTINUED to December 11,
22   2019, at 10:00 a.m. in courtroom 7. The parties are encouraged to file a further Notice of
23   Exclusion of Time if amenable.
24

25   DATED: November 13, 2019
26
                                            _______________________________________
27
                                            MORRISON C. ENGLAND, JR.
28                                          UNITED STATES DISTRICT JUDGE



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